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                                             UNITED STATES DISTRICT COURT

                                           WESTERN DISTRICT OF LOUISIANA

                                                        LAFAYETTE DIVISION

  HADASSA INVESTMENT SECURITY                                               ) CIVIL ACTION NO. 16-cv-01502
  NIGERIA, LTD                                                              )
                                                                            )
  VERSUS                                                                    ) JUDGE JAMES
                                                                            )
  SWIFTSHIPS SHIPBUILDERS, LLC,                                             ) MAGISTRATE JUDGE WHITEHURST
  SWIFTSHIPS, LLC and DEPARTMENT                                            )
  OF NAVY, SEA SYSTEM COMMAND                                               )
  (NOMINAL PARTY)

               MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
              THE UNITED STATES OF AMERICA FROM PLAINTIFF’S
             LAWSUIT FOR LACK OF SUBJECT-MATTER JURISDICTION

             COMES NOW Defendant, the United States of America (“United States”)1, by and

  through Stephanie A. Finley, United States Attorney for the Western District of Louisiana, and

  Desiree Williams-Auzenne, Assistant United States Attorney, which respectfully moves the

  Court to dismiss the United States from the above captioned matter on the following grounds:

                                                            Factual Background

             On February 2, 2015, the United States Department of the Navy (“the Navy”), acting

  through the Naval Sea Systems Command, awarded Contract Number N00024-15-G-4209 (“the

  contract”) to Swiftships Shipbuilders, LLC (“Shipbuilders”).                                        The contract is a basic ordering

  agreement pursuant to which the Navy procures engineering services and technical support for

  the Iraqi Navy Ship Repair Facility in Umm Qasr, Iraq.                                                  The contract was issued to

  Shipbuilders in error.               A clerical mishap involving use of an incorrect contractor identification



  1 Plaintiff names the Department of the Navy, Naval Sea Systems Command as a defendant in this case.                   However, suits against federal
  defendants (i.e., federal agencies and officials acting in their official capacity) are suits against the United States. Maleche v. Solis, 692 F.Supp.2d
  679, 685 (S.D. Tex. 2010).    Therefore, the United States of America is the property party to appear in the suit, and seek the relief prayed for in
  the instant motion.
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  code caused pertinent documents to identify Shipbuilders, rather than Swiftships, LLC

  (“Swiftships”) as the contract recipient.

             On August 10, 2016, the Navy and intended contractor, Swiftships, executed a

  Modification of Contract whereby Swiftships’ company name was substituted for that of

  Shipbuilders throughout the contract, as well as on any delivery orders for services issued under

  the contract.         This modification was carried out pursuant to a previous novation agreement

  between the Navy, Shipbuilders, and Swiftships whereby the Navy recognized Swiftships as

  successor-in-interest to Shipbuilders.

             Plaintiff, a judgment creditor of Shipbuilders, filed the instant revocatory action on

  October 10, 2016.              The Complaint alleges that a January 1, 2014 Asset Purchase Agreement

  between Shipbuilders and Swiftships, and the August 10, 2016 modification of the Navy contract

  prevented Plaintiff from collecting on a judgment it obtained against Shipbuilders in an earlier

  breach of contract case. 2                  Plaintiff seeks revocation of the Shipbuilders/Swiftships Asset

  Purchase Agreement, and annulment of the Navy novations substituting Swiftships as contractor

  in place of Shipbuilders.

                                                          Law and Argument

                  A. Rule 12(b)(1)

             Under Rule 12(b)(1) of the Federal Rules of Civil Procedure, “[a] case is properly

  dismissed for lack of subject matter jurisdiction when the court lacks the statutory or

  constitutional power to adjudicate the case.”                             Home Builders Ass’n of Miss, Inc. v. City of

  Madison, 143 F.3d 1006, 1010 (5th Cir. 1998) (internal quotation omitted).

             A court may base its disposition of a motion to dismiss under Rule 12(b)(1) of the


  2 The Asset Purchase Agreement entered into by Shipbuilders and Swiftships on January 1, 2014, and referenced in Plaintiff’s complaint is
  separate from and unrelated to the Navy contract discussed herein.

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  Federal Rules of Civil Procedure on (1) the complaint alone; (2) the complaint supplemented by

  undisputed facts; or (3) the complaint supplemented by undisputed facts plus the court's

  resolution of disputed facts.   Robinson v. TCI/US West Communications, Inc., 117 F.3d 900

  (5th Cir. 1997), (citing Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir.), cert. denied, 454 U.S.

  897, 102 S. Ct. 396, 70 L. Ed. 2d 212 (1981).     Thus, when presented with a motion to dismiss

  under Rule 12(b)(1), the court may consider evidence presented beyond the pleadings. See,

  Moran v. Kingdom of Saudi Arabia, 27 F.3d 169, 172 (5th Cir. 1994).       Additionally, the burden

  of proof applicable to the Rule 12(b)(1) analysis lies on the party asserting jurisdiction.   Thus,

  Plaintiff bears the burden of establishing subject-matter jurisdiction over its claims against the

  federal agency defendant in this case.   In re FEMA Trailer Formaldehyde Prods. Liab. Litig.,

  668 F.3d 281, 286 (5th Cir. 2012).

             B. Plaintiff’s Claims Against the United States Are Barred by Sovereign Immunity.

         The United States is immune from suit except when it waives its sovereign immunity.

  Wilkerson v. United States, 67 F.3d 112, 118 (5th Cir. 1995).    Plaintiff’s Complaint fails to cite

  any statutory waiver of the Government’s sovereign immunity.           Therefore, the court lacks

  jurisdiction to grant Plaintiff relief from the United States with respect to the Navy contract at

  issue in this lawsuit.   Federal courts are courts of limited jurisdiction; without jurisdiction

  conferred by statute, they lack the power to adjudicate claims. In re FEMA Trailer

  Formaldehyde Prods. Liab. Litig., 668 F.3d at 286 (citing Kokkonen v. Guardian Life Ins. Co. of

  Am., 511 U.S. 375, 377, 114 S.Ct. 1673, 128 L.Ed.2d 391 (1994); Stockman v. Fed. Election

  Comm’n, 138 F.3d 144, 151 (5th Cir. 1998)).

         The United States must consent to be sued, and that consent is a prerequisite to federal

  jurisdiction. Delta Commer. Fisheries Ass’n v. Gulf of Mex. Fishery Mgmt. Council, 364 F.3d

  269, 273 (5th Cir. 2004) (citing United States v. Navajo Nation, 537 U.S. 488, 502, 123 S.Ct.
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  1079, 155 L.Ed.2d 60 (2003)).        Consent may not be inferred, but must be unequivocally

  expressed. Id. (citing United States v. White Mountain Apache Tribe, 537 U.S. 465, 472, 123

  S.Ct. 1126, 155 L.Ed.2d 40 (2003)). Congress provides for the waiver of sovereign immunity

  and, unless Congress has expressly allowed for it, courts may not exercise subject-matter

  jurisdiction over a claim against the federal government.         Wilkerson, 67 F.3d at 118 (citing

  United States v. Orleans, 425 U.S. 807, 814, 96 S.Ct. 1971, 1976, 48 L.Ed.2d 390 (1976); Drake

  v. Panama Canal Comm’n 907 F.2d 532, 534 (5th Cir. 1990); Ware v. United States, 626 F.2d

  1278, 1286 (5th Cir. 1980)).

         Further, Plaintiff describes the Navy as a “nominal party” to the litigation, presumably

  for diversity of citizenship purposes. However, Mover maintains that this nominal party

  designation is irrelevant to the question of whether sovereign immunity shields the Government

  from Plaintiff’s claims. See Dennis Allen Const. Co., Inc. v. Secretary of Army Corps of

  Engineers et al, 2012 WL 3150826 (W.D. Ark) (Government was dismissed with prejudice from

  action after Court found no waiver of sovereign immunity despite the plaintiff’s claims that the

  government was nominal party).      No exception to the doctrine of sovereign immunity applies to

  the factual allegations plead in Plaintiff’s revocatory action.     Accordingly, the court’s limited

  jurisdiction does not extend to Plaintiff’s claims against the United States.

                                              Conclusion

         For the reasons set forth above, the United States is immune from suit, and should be

  dismissed from Plaintiff’s complaint pursuant to Fed.R.Civ.P. 12(b)(1).




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                                     Respectfully Submitted,

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